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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

                                                     Chapter 15
 In re:
                                                     Case No.: ________________________

 GUERREIRO INDÚSTRIA, COMÉRCIO,
 IMPORTAÇÃO E EXPORTAÇÃO LTDA.,


 Debtor in a Foreign Proceeding.



              STATEMENT OF THE FOREIGN REPRESENTATIVE AND LIST OF
              ADMINISTRATORS, PARTIES AND ENTITIES PURSUANT TO
                        11 U.S.C. §1515(c) AND RULE 1007(a)(4)(B)

          I, Osana Maria da Rocha Mendonça, pursuant to the requirements of the 11 U.S.C

§ 1515(c) and Federal Rule of Bankruptcy Procedure 1007(a)(4)(B), state as follows:

    1. I am the court-appointed judicial administrator and duly-authorized foreign representative

of the Brazilian proceeding (the “Brazilian Proceeding”) of the above-captioned debtor, Guerreiro

Indústria, Comércio, Importação e Exportação Ltda. (“Guerreiro” or the “Debtor”), pending before

the 1st Court of the Judicial District of Nova Odessa, State of São Paulo, Brazil (the “Brazilian

Court”).

    2. I respectfully submit this statement, as required by section 1515(c) of title 11 of the United

States Code (the “Bankruptcy Code”), in support of the verified petition filed herewith seeking

recognition by this Court of the Brazilian Proceeding as a foreign main proceeding.

                      Identification of Foreign Proceedings Involving the Debtor

    3. Pursuant to the requirements of section 1515(c) of the Bankruptcy Code, to the best of my

knowledge, the Brazilian Proceeding is the only known pending “foreign proceeding” with respect

to the Debtor as that term is defined in section 101(23) of the Bankruptcy Code.
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             List of Names and Addresses of Persons Authorized to Administer Foreign
                                           Proceedings

   4.   I am the only individual authorized to administer foreign proceedings of Guerreiro.

   5. On December 18, 2015, I was appointed as the judicial administrator by the Brazilian

Court. the Brazilian Court appointed KPMG as the Judicial Administrator. A true and correct copy

of the Appointment is attached as Exhibit C, respectively, to the Foreign Representative

Declaration filed contemporaneously forthwith.

   6. I am the only duly-appointed Foreign Representative of Guerreiro.

   7. My address is the following:

                              Attn: Osana Maria da Rocha Mendonça
                                 KPMG Corporate Finance Ltda.
                    Rua Verbo Divino, 1400 5° andar - Parte, Chacara Santo Antonio,
                                CEP 04719-002, Sao Paulo/SP, Brazil

         List of all Parties to Litigation Pending in the U.S. in Which the Debtor is a Party

   8. To the best of my knowledge, as the date of this statement, there is no litigation pending

the United States in which the Debtor is a party.

                    List of all Entities Against Whom Provisional Relief is Sought

   9. There are no entities against whom provisional relief, pursuant to 11 U.S.C. § 1519, is

being south at this time.

                                   28 U.S.C. § 1746 VERIFICATION

   10. I have read the foregoing Statement of Foreign Representation, and I verify under penalty

of perjury under the laws of the United States of America that the facts and matters alleged and

contained therein are true and correct.




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